Case 1:21-cr-00076-JJM-LDA Document 22 Filed 10/29/21 Page 1 of 3 PagelD #: 253

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

UNITED STATES OF AMERICA,

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ALEXANDER E. ISTOMIN, a/k/a CR. No. 21-er-76-JIM-LDA

Alexander Istomin, MD, and a/k/a
Eugene Istomin,
Defendant.

 

ORDER ON REVIEW OF DETENTION ORDER

The Government has charged Alexander E. Istomin with ten counts -- one count
of health care fraud, eight counts of mail fraud, and one count of money laundering.
ECF No. 8. After a bail hearing in the Southern District of Florida, Magistrate Judge
Patrick M. Hunt found that Mr. Istomin presented a risk of flight. ECF No. 7 at 22—
26. Because no condition or combination of conditions of pretrial release would
reasonably assure his appearance, he ordered pretrial detention. Jd. A second bail
hearing was held in this District, and Magistrate Judge Lincoln D, Almond found the
same. ECF No. 15. Mr. Istomin now seeks review of these orders that he be detained,
pursuant to 18 U.S.C. § 3145(b). ECF No. 18.

The Court must order the detention of a defendant pending trial “[ilf, after a
hearing .. . the judicial officer finds that no condition or combination of conditions

would reasonably assure the appearance of the person as required and the safety of

 
Case 1:21-cr-00076-JJM-LDA Document 22 Filed 10/29/21 Page 2 of 3 PagelD #: 254

any other person and the community... .”! 18 U.S.C. § 3142(e)(1).. The burden is
on the government to prove the risk of flight by a preponderance of the evidence.
Hernandez-Lara v. Lyons, 10 F.4th 19 (1st Cir. 2021). Factors to be considered
include: “(D the nature and circumstances of the offense charged”; “(2) the weight of
the evidence against the person”: “(3) the history and characteristics of the person’:
and “(4) the nature and seriousness of the danger to any person in the community
that would be posed by the person’s release.” 18 U.S.C. § 3142(g).

The weight of the evidence against Mr. Istomin is strong. He faces a guideline
range of up to ten years in prison for a fraud alleged to exceed of $4 million.2 When
speaking to authorities about these charges, Mr. Istomin has given inconsistent
statements.

Mr. Istomin also has the means and capacity to flee. He has previously used
multiple aliases, and even has credit cards and bank accounts in multiple different
names. At the time of his arrest, the officials found in his home: a printer used to
print identification documents; a social security card in the name of another; and

multiple passports marriage licenses. When asked about his deception, Mr. Istomin

has wavered when speaking to probation about the number of bank accounts he has,

 

1 Neither the government nor the two magistrate judges that reviewed his
detention assert that the safety of any other person and the community is implicated
in the detention decision.

2 Cf 18 U.S.C. § 3142(e)(3)(A) (holding that there is at least one offense where
a period of incarceration of at least ten years creates a rebuttable presumption that
“no condition or combination of conditions will reasonably assure the appearance of
the person as required and the safety of the community... .”).

 
Case 1:21-cr-00076-JJM-LDA Document 22 Filed 10/29/21 Page 3 of 3 PagelD #: 255

the existence of an alternative passport, and the number of times he traveled
internationally,

The reason behind these international travels is due to Mr. Istomin’s extensive
personal and business ties to Russia. He was born in Russia (naturalized as a US
citizen in 1994) and his father still lives there. Moreover, he has a medical degree
from a St. Petersburg Medical School and, as such, can practice medicine in Russia.

After a de novo review of the entire record, and hearing arguments of counsel,
the Court finds that the Government has shown by a preponderance of the evidence
that there are no conditions or combination of conditions that reasonably will assure
Mr. Istomin’s appearance in court as required. The Court DENIES his Motion for

Review of the Detention Order. ECF No. 18.

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John J. McConnell, Jr.
Chief United States District Judge

 

October 29, 2021

 
